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7                      IN THE UNITED STATES DISTRICT COURT
8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )          CASE NO. S 05-302 LKK
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )
                                   )          MOTION TO DISMISS
13   RUBEN ALDACO-VILLA,           )
     SERGIO VENTURA, &             )
14   JOSE LUIS RODRIGUEZ-RODRIGUEZ )
                                   )
15                  Defendant.     )
     ______________________________)
16

17        The United States requests leave of court to dismiss the
18   charges against Defendant Jose Luis Rodriguez-Rodriguez.          Fed. R.
19   Crim. P. 48(a).    The evidence of conspiracy and knowing
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //

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           Case 2:05-cr-00302-LKK Document 40 Filed 01/03/06 Page 2 of 2


1    possession would probably be insufficient to obtain and sustain a
2    conviction of this Defendant.     See U.S.A.M. 9-27.220.
3
                                             Respectfully Submitted,
4                                            McGREGOR W. SCOTT
                                             United States Attorney
5

6
     DATED: December 23, 2005         By:     /s/ Matt Segal
7                                            MATTHEW D. SEGAL
                                             Assistant U.S. Attorney
8

9
     SO ORDERED.
10

11

12   DATE: January 3, 2006
                                             /s/ Lawrence K. Karlton
13                                           HON. LAWRENCE K. KARLTON
                                             U.S. District Judge
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